                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                          CHARLESTON DIVISION

ANDREW GORDON, TAVIS MCNEIL,           )
DONALD WRIGHTON, NICHOLAS COLE,        )
JACOB GRISSON, and DAWN DEWEY,         )
on behalf of themselves and others similarly
                                       )
situated,                              )
                                       )                   No. 2:14-cv-03365-DCN
                  Plaintiffs,          )
                                       )
            vs.                        )
                                       )
TBC RETAIL GROUP, INC. d/b/a TIRE      )
KINGDOM,                               )                          ORDER
                                       )
                  Defendant.           )
_______________________________________)

       This matter is before the court on plaintiffs’ motion for conditional class

certification. Plaintiffs seek conditional certification of a putative class pursuant to

the collective action provision of the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

§ 216(b). For the reasons set forth below, the court grants plaintiffs’ motion.

                                  I. BACKGROUND

       Plaintiffs Andrew Gordon, Tavis McNeil, Donald Wrighton, Nicholas Cole,

Jacob Grisson, and Dawn Dewey (collectively “Plaintiffs”) were employed by

defendant TBC Retail Group, Inc., d/b/a Tire Kingdom (“TBC”) as mechanics in

TBC’s South Carolina stores. Pls.’ Compl. ¶ 1. Plaintiffs and other mechanics

employed by TBC during the relevant time period were responsible for inspecting,

diagnosing, repairing, and servicing automobiles. Id. at ¶¶ 13 and 14. All mechanics

employed by TBC during the relevant time period were, and continue to be, paid

pursuant to the same compensation plan. Pls.’ Compl. ¶ 16; Def.’s Answer ¶¶ 15, 16,



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19, 22, 23, and 31. Under this plan, a mechanic’s total compensation is composed of

two basic components. First, each mechanic is paid an amount determined by

multiplying the particular mechanic’s “flat rate”—an hourly pay rate assigned to each

mechanic based on that mechanic’s particular skill, experience, and certifications—by

the mechanic’s “turned hours”—a pre-established amount of time designated by TBC

for each mechanical task—for all tasks completed by the mechanic during the

relevant pay period. Def.’s Answer at ¶ 16; Def.’s Resp. 5. Thus, this “turned hours”

component of a mechanic’s compensation (hereinafter, “Turned Hours Pay”) does not

account for the actual time spent working on a particular task or during the pay period

overall. Def.’s Resp. 5. Instead, Turned Hours Pay is based exclusively on the

number of tasks completed and the pre-assigned “turned hours” for such tasks. Id. at

5–6. The same measure of “turned hours” used to form a mechanic’s Turned Hours

Pay for a particular task is used as the basis for the labor costs charged to the

customer1 for that task, though the rates paid by the customers are, of course, greater

than mechanics’ “flat rates.” Id. at 5.

         When the amount of a mechanic’s Turned Hours Pay earned over a given pay

period is less than one and one-half times the statutory minimum wage2 multiplied by

the mechanic’s actual hours worked during the same period, TBC pays a

supplemental amount, referred to as “differential pay.” Def.’s Answer ¶ 19; Def.’s

Resp. 6. This “differential pay” is set at whatever amount is needed to render the

mechanic’s total compensation—i.e. Turned Hours Pay plus “differential pay”—

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          Plaintiffs allege that managers regularly reduced the turned hours charged to the customers in
order to facilitate sales, thereby reducing the turned hours earned by the mechanics. Cole Aff. ¶ 9;
Gordon Aff. ¶7; McNeil Aff. ¶ 11.
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          As a matter of caution, TBC set a minimum rate of $11.02 per hour, though one and one-half
times the minimum wage of $7.75 per hour is only $10.88 per hour. Def.’s Answer ¶ 19.

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equal to $11.02 per hour for all actual hours worked during the period. Def.’s

Answer ¶ 19; Def.’s Resp. 6. As a result, if a mechanic’s “turned hours” fall below a

certain percentage3 of their actual hours, TBC compensates the mechanic as if they

earned a straightforward wage of $11.02 per hour. This “differential pay” is designed

to insure that mechanics always earn at least one and one-half time the statutory

minimum wage for all actual hours worked. Def.’s Answer ¶ 19; Def.’s Resp. 6.

        On August 20, 2014, plaintiffs filed their original complaint against TBC on

behalf of themselves and “all other similarly situated employees including but not

limited to each and every mechanic who suffered damages as a result of [TBC]’s”

FLSA violations. Pls.’ Complaint ¶ 2. Plaintiffs allege that TBC violated the

minimum wage and overtime provisions of the FLSA by utilizing a compensation

plan that did not provide compensation at a rate of one and one-half times their

regular rate of pay when plaintiffs and similarly situated employees worked more

than forty (40) hours in a workweek. Id. at ¶ 23. On October 27, 2014, TBC filed its

answer to plaintiffs’ complaint, arguing that plaintiffs and other similarly situated

employees were paid under a bona fide flat-rate commission plan and were therefore

not entitled to overtime compensation pursuant to Section 7(i) of the FLSA. Def.’s

Answer ¶¶ 15–16. On April 15, 2015, plaintiffs filed the instant motion for

conditional class certification, seeking authorization to proceed as a collective action

on behalf of “all current and former [m]echanics who worked during the time period

beginning August 20, 2011 through the present.” Pls.’ Mot. ¶ 8. Plaintiffs also ask

the court to require TBC to provide the names, addresses, and telephone numbers of


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       This percentage would depend on the particular plaintiff’s “flat rate” and the statutory
minimum wage, though that appears to have been $7.75 per hour at all times relevant to this action.

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all potential opt-in plaintiffs, and to authorize the mailing of the proposed notice to all

potential opt-in plaintiffs. Id. at 3.

                                    II. DISCUSSION

        A. Ordinary Standard

        Under the FLSA, plaintiffs may institute a collective action against their

employer on behalf of themselves and other similarly situated employees. Section

216(b) of the FLSA states,

        An action . . . may be maintained against any employer . . . in any
        Federal or State court of competent jurisdiction by any one or more
        employees for and in behalf of himself or themselves and other
        employees similarly situated. No employee shall be a party plaintiff to
        any such action unless he gives his consent in writing to become such
        a party and such consent is filed in the court in which such action is
        brought.

29 U.S.C. § 216(b). The mechanism outlined in § 216(b) is designed to facilitate the

efficient adjudication of similar claims by “similarly situated” employees by

permitting the consolidation of individual claims and the pooling of resources in

prosecuting such actions against their employers. See Hoffmann–La Roche Inc. v.

Sperling, 493 U.S. 165, 170 (1989); LaFleur v. Dollar Tree Stores, Inc., 2014 WL

934379, at *2 (E.D. Va. Mar. 7, 2014); Lynch v. United Servs. Auto. Ass’n, 491 F.

Supp. 2d 357, 367 (S.D.N.Y. 2007). In deciding whether the named plaintiffs in an

FLSA action are “similarly situated” to other potential plaintiffs, courts generally

employ a two-stage approach. Purdham v. Fairfax Cnty. Pub. Sch., 629 F. Supp. 2d

544, 547 (E.D. Va. 2009) (quoting Parker v. Rowland Express, Inc., 492 F. Supp. 2d

1159, 1164 (D. Minn. 2007)); see also Pelczynski v. Orange Lake Country Club, Inc.,

284 F.R.D. 364, 367 (D.S.C. 2012); Simons v. Pryor’s, Inc., No. 3:11–cv–0792, 2011

WL 6012484, at * 1 (D.S.C. Nov. 30, 2011).

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       The first step in this process, which is the subject of the instant motion, is the

“notice,” or “conditional certification,” stage. Purdham, 629 F. Supp. 2d at 547.

With regard to this conditional certification stage, “[t]he Supreme Court has held that,

in order to expedite the manner in which collective actions under the FLSA are

assembled, ‘district courts have discretion[,] in appropriate cases[,] to

implement . . . § 216(b) . . . by facilitating notice to potential plaintiffs.’” Purdham,

629 F. Supp. 2d at 547 (quoting Hoffman–La Roche, Inc., 493 U.S. at 169); see

Genesis Healthcare Corp. v. Symczyk, 133 S.Ct. 1523, 1530 (2013) (citation omitted)

(“‘[C]onditional certification’ does not produce a class with an independent legal

status, or join additional parties to the action. The sole consequence of conditional

certification is the sending of court-approved written notice to employees, who in turn

become parties to a collective action only by filing written consent with the court.”

(citing § 216(b))). At this stage, the plaintiff must demonstrate that the proposed

class members are “similarly situated” and that notice is “appropriate.” Id. at 548.

Notice is “appropriate” where the proposed class members’ claims “share common

underlying facts and do not require substantial individualized determinations for each

class member.” MacGregor v. Farmers Ins. Exch., No. 2:10-cv-03088, 2012 WL

2974679, at *2 (D.S.C. July 20, 2012). Ordinarily, the plaintiff’s burden at this initial

stage is fairly lenient, requiring only a modest factual showing that members of the

proposed class are “victims of a common policy or plan that violated the law.”

Regan v. City of Charleston, S.C., No. 2:13-cv-3046, 2014 WL 3530135, at *2

(D.S.C. July 16, 2014); Long v. CPI Sec. Sys., Inc., 292 F.R.D. 296, 298–99

(W.D.N.C. 2013); Essame v. SSC Laurel Operating Co. LLC, 847 F. Supp. 2d 821,



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824–25 (D. Md. 2012); Steinberg v. TQ Logistics, Inc., No. 0:10-cv-2507, 2011 WL

1335191, at *1 (D.S.C. Apr. 7, 2011); Purdham, 629 F. Supp. 2d at 547–48. Courts

determine whether conditional certification is warranted by examining the parties’

pleadings and affidavits. Schmidt v. Charleston Collision Holdings Corp., No. 2:14-

cv-01094, 2015 WL 3767436, at *3 (D.S.C. June 17, 2015); Steinberg, 2011 WL

1335191, at *1.

       “Second, after the court has conditionally certified the class, the potential

class members have been identified and notified, and discovery has been completed,

‘a defendant may then move to decertify the collective action, pointing to a more

developed record to support its contention that the plaintiffs are not similarly

situated . . .’” Regan, 2014 WL 3530135, at *3 (quoting Pelczynski, 284 F.R.D. at

368); Purdham, 629 F. Supp. 2d at 547. At this “decertification stage” the court

applies a heightened, fact-specific standard to the “similarly situated” analysis,

Regan, 2014 WL 3530135, at *3, and considers various additional factors, including:

(1) the disparate factual and employment settings of the individual plaintiffs; (2) the

various defenses available to defendants that appear to be individual to each plaintiff;

and (3) fairness and procedural considerations. Id. at *3.

       B. Intermediate Standard

       Although defendant all but abandoned this argument at the hearing, defendant

asked the court to deviate from this approach and review plaintiffs’ motion for

conditional certification using a heightened, “intermediate standard.” Def.’s Resp.

9–11. Despite the ordinarily lenient standard at the conditional certification stage,

courts have occasionally applied an intermediate standard, which requires a more



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stringent showing in cases where some, but not all, discovery has been completed.

See MacGregor, 2012 WL 2974679, at *3; McClean v. Health Sys., Inc., 2011 WL

6153091, at *4 (W.D. Mo. Dec. 12, 2011); Blaney v. Charlotte-Mecklenburg Hosp.

Auth., 2011 WL 4351631, at *5 (W.D.N.C. Sept. 16, 2011). Most district courts

within this circuit hold that the intermediate standard is generally inappropriate when

relatively little discovery has taken place. See, e.g., Holmes v. Charleston Ret.

Investors, LLC, No. 2:13-cv-1713, 2014 WL 10122868, at *3 (D.S.C. Feb. 25, 2014)

(“[A]lthough the parties have completed some discovery, including taking several

depositions, it appears to the [c]ourt that significant additional discovery remains . . .

Accordingly, the [c]ourt will apply the more lenient standard . . .”); Curtis v. Time

Warner Entm’t-Advance/Newhouse P’ship, No. 3:12-cv-2370, 2013 WL 1874848, at

*3 (D.S.C. May 3, 2013) (“Where extensive discovery remains, courts usually apply

the more lenient standard applicable at the first step.”); Long, 292 F.R.D. at 300

(“[T]he limited precertification discovery contemplated . . . in this case, and

performed by the parties, does not rise to the level of discovery performed by parties

in other cases where courts applied the intermediate standard.”); Essame, 847 F.

Supp. 2d at 826 (“[Defendant] has identified no authority from this jurisdiction

standing for the proposition that courts may disregard the traditional two-stage

analysis where the parties have completed ‘some’ discovery.”).

       In this case, very little discovery has taken place. The only discovery requests

made to this point are plaintiffs’ first set of interrogatories and first set of document

requests. See ECF No. 15. This level of discovery is clearly insufficient to justify

use of the intermediate standard under the general rule, as it appears that significant



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additional discovery remains. See Holmes, 2014 WL 10122868, at *3; Curtis, 2013

WL 1874848, at *3. Though certain decisions in this circuit can be read to have

applied the intermediate standard after only limited discovery—notably, this court’s

decision in MacGregor and the Western District of North Carolina’s decision in

Blaney—the minimal discovery in this case does not even reach the level found in

those exceptional cases, where the parties had taken at least some depositions.

Blaney, 2011 WL 4351631, at *5 (stating that “the parties exchanged interrogatories

and documents and took a number of [p]laintiffs’ depositions in advance of the []

deadline [for filing the motion for class certification],” and “[t]he [c]ourt cannot close

its eyes to the amount of discovery already performed in this action”); MacGregor,

2012 WL 2974679, at *3 (mentioning two depositions plaintiffs used in support of

their arguments). Thus, even if this case presented the sort of exceptional

circumstances that justified the application of the intermediate standard in MacGregor

and Blaney, the parties have engaged in such little discovery that the standard would

still be inappropriate.

        Moreover, there is no indication that such exceptional circumstances are

present in this case. Unlike in MacGregor, plaintiffs did not utilize, much less rely

upon, discovered information in support of their initial motion,4 which was filed

before plaintiffs even received defendant’s responses to their discovery requests. See

MacGregor, 2012 WL 2974679, at *3 (holding that that the plaintiff’s reliance on

evidence produced during discovery justified the use of the intermediate standard,

reasoning that it would be inequitable to allow the plaintiff to utilize the discovered

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       Plaintiffs’ reply memorandum does reference a set of documents entitled “Terms of
Employment Notice” which appear to have been produced during discovery. Pls.’ Reply 4 n.2.
However, these documents appear in a footnote and are not central to plaintiffs’ argument.

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information while still benefiting from the lenient conditional certification standard).

This case is also distinguishable from Blaney, where the parties specifically agreed to

a discovery plan which contemplated a period of discovery that would precede the

plaintiff’s motion for conditional certification. See Blaney, 2011 WL 4351631, at *5

(stating that “[t]he critical point is that the parties agreed and anticipated that some

discovery was to occur prior to the [c]ertification [m]otion coming due, and the

[c]ourt adopted this discovery time-frame,” and “the [c]ourt cannot ignore the fact

that the parties requested, and engaged in, some discovery on the certification issue”).

Though not explicitly stated by the Blaney court, this agreement suggests that the

parties understood, or at least, should have understood, that information produced by

such discovery would be scrutinized in connection with the plaintiff’s motion for

conditional certification. See Id. Here, there was certainly no agreed upon period of

pre-certification discovery, nor is there any evidence that plaintiffs understood that

the information produced by such discovery would be scrutinized by this court at the

conditional certification stage. Even assuming plaintiffs’ discovery requests were

designed to uncover class certification related evidence, simply engaging in discovery

that might produce such evidence does not indicate an understanding that it will be

examined at the conditional certification stage, especially because such evidence is

normally reviewed at the decertification stage. In light of the minimal discovery

completed in this case and the absence of any exceptional circumstances justifying an

examination of the information produced by such discovery, the court declines

defendant’s request to utilize the intermediate standard and will proceed to assess

plaintiffs’ motion under the ordinary, “fairly lenient” standard.



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         C. Similarly Situated

         Plaintiffs ask the court to conditionally certify a class of “all current and

former [m]echanics who worked during the time period beginning August 20, 2011

through the present.”5 Pls.’ Mot. ¶ 8. Plaintiffs claim that they, along with all other

mechanics employed by defendant during the class period, shared the same job duties,

regularly worked over forty hours a week, and were not paid overtime pursuant to the

same compensation plan. Pls.’ Br. 2, 5–6. Plaintiffs argue that these commonalities

demonstrate that the proposed class members are similarly situated. Id.

         TBC does not deny that all mechanics were paid under the same compensation

plan but nevertheless argues that class certification would be inappropriate, because

TBC’s primary defense at trial—that the compensation plan constitutes a bona fide

flat-rate commission plan under § 7(i) of the FLSA—will render individualized, fact-

specific inquiries necessary in deciding each class member’s claim. Def.’s Resp. 16.

         FLSA § 7(i) provides that:

         No employer shall be deemed to have violated [the overtime
         provisions] of this section by employing any employee of a retail or
         service establishment for a workweek in excess of the applicable
         workweek specified therein, if (1) the regular rate of pay of such
         employee is in excess of one and one-half times the minimum hourly
         rate applicable to him under the [minimum wage section] of this title,
         and (2) more than half his compensation for a representative period
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          TBC argues that plaintiffs’ have not sufficiently defined the class, relying, almost exclusively
on Prince v. Cato Corp., 2015 WL 1040713 (N.D. Ala. Mar. 10, 2015). Def.’s Resp. 15–16. In Prince,
the court noted that the plaintiffs’ “failure to clearly describe the potential class is reason enough to
deny the motion.” Prince, 2015 WL 1040713. at *2 n.1. However, Prince offered no support for this
proposition and it was not central to the court’s holding. See Id. at *9–10 (holding that the evidence
did not support conditional certification of a nationwide class). Moreover, plaintiffs’ description of
the class in this case is sufficiently clear given the nature of their claims. Plaintiffs claim that the
nature of defendant’s compensation plan, which appears to have applied to all mechanics employed by
defendant, gave rise to FLSA violations. Pls.’ Br. 2, 5–6. Thus, the court finds that plaintiffs have
sufficiently indicated their intent to include all mechanics “nationwide”—unlike in Prince where “none
of the declarations, or documentary evidence, support[ed] the conditional certification of a nationwide
class.” Id. at *9.


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         (not less than one month) represents commissions on goods or
         services.

29 U.S.C. § 207(i). TBC contends that due to the “‘highly individualized nature’ of

claims for overtime involving the § 7(i) defense, which, in this case, would require a

review of each class member’s actual time records, turned-hours records and pay

records—courts have made clear that commissioned employees’ claims under § 7(i)

cannot proceed as a collective action.”6 Def.’s Resp. 17 (emphasis in original).

         As an initial matter, TBC’s argument is premature at the conditional

certification stage. TBC relies on Beauperthuy v. 24 Hour Fitness USA, Inc., 772 F.

Supp. 2d 1111, 1126 (N.D. Cal. 2011), and Johnson v. TGF Precision Haircutters,

Inc., 2005 WL 1994286, at *6 (S.D. Tex. Aug. 17, 2005), to demonstrate the

inherently individualized nature of the § 7(i) inquiry. Id. at 17–19. However, both

Johnson and 24 Hour Fitness were decided at the decertification stage after

conditional certification, where plaintiffs must meet a higher burden of proof and

courts review several factors not addressed at the conditional certification stage,

including “the various defenses available to defendant which appear individual to

each plaintiff.” 24 Hour Fitness, 772 F. Supp. 2d at 1116–18; Johnson, 2005 WL

1994286, at *1.


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          TBC also argues that the burden created by these individualized, fact-specific inquiries would
be exacerbated by the variety of the proposed plaintiffs’ compensation plans. Def.’s Resp. 18. TBC
points to the fact that some, but not all, of plaintiffs’ affidavits contained allegations that their “turned
hours” were routinely and unilaterally reduced by managers in order to facilitate sales. Def.’s Resp. 18
n.13. Though this may have some bearing on the similarly situated analysis, discussed below, this
alleged practice by TBC’s managers cannot sensibly be characterized as part of plaintiffs’
compensation plan.
          With respect to other differences in potential class member’s pay, the court notes that while
each class member’s actual hours, “flat-rate,” and commissions as a percentage of total pay will vary,
courts have held that “[d]ifferences as to time actually worked, wages actually due[,] and hours
involved are, of course, not significant” in determining whether proposed class members are similarly
situated. Pelczynski, 284 F.R.D. at 368 (citing De Luna-Guerrero v. N. Carolina Grower’s Ass’n, Inc.,
338 F. Supp. 2d 649, 654 (E.D.N.C. 2004)).

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        TBC nevertheless analogizes the instant case to Holt v. Rite Aid Corp., 333 F.

Supp. 2d 1265 (M.D. Ala. 2004), in which the court refused to conditionally certify

the proposed class because “substantial evidence” indicated that the application of an

FLSA defense would require individualized inquiries into the daily tasks of each

proposed class member. Holt, 333 F. Supp. 2d. at 1274–75 (“[S]ubstantial evidence

has been presented which indicates to this court that if the case were conditionally

certified as a collective action at this stage, the court would have to inquire at a

second stage as to the daily tasks of each putative collective action member to

determine whether they are similarly situated to the persons identified by the

[p]laintiffs, and then, on the merits, whether they had suffered an FLSA violation

because they were not eligible for overtime compensation.”); see also Pelczynski, 284

F.R.D. at 369 (declining to conditionally certify a class after determining that “[the

court] must eventually conduct an individualized assessment of each of [p]laintiffs’

claims”). The court in Holt, however, had the benefit of “fairly extensive evidence on

the issue of whether putative class members [were] similarly situated.” Holt, 333 F.

Supp. 2d at 1274. As discussed above, the available evidence in this case is

extremely limited, thus, it would be inappropriate to inquire into the individualized

nature of the § 7(i) defense at this stage.

        To the extent defendant’s § 7(i) defense is relevant, plaintiffs have still

provided at least a “modest factual showing” that liability will not depend on

individualized, fact-specific inquiries. The courts in 24 Hour Fitness and Johnson

both held that application of the § 7(i) defense would require a highly individualized

inquiry that could not be accomplished with common proof, because the court would



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need to calculate the separate elements of the § 7(i) defense—i.e. the regular rate of

pay, the hours worked, and total commissions as a percentage of total pay over each

representative period—for each week that each plaintiff was employed. See 24 Hour

Fitness, 772 F. Supp. 2d at 1126–27; Johnson, 2005 WL 1994286, at * 6

(“Functionally . . . § 7(i) is in fact a highly individualized defense because its

application requires week-by-week and other periodic calculations (e.g., not less than

monthly on one part of the formula) specific to each individual [p]laintiff and his or

her particular circumstances.”). This reasoning assumes that liability will turn on

whether or not the calculations of each plaintiff’s pay fall within the quantitative

requirements of § 7(i).

       However, if it were possible to demonstrate that the § 7(i) defense was

inapplicable without reference to such calculations, the reasoning in 24 Hour Fitness

and Johnson would not apply. Here, plaintiffs challenge defendant’s characterization

of their pay as bona fide “commissions” under FLSA § 7(i). Pls.’ Br. 3–4 (arguing

that defendant’s mischaracterized their pay pursuant to a “sham” commission plan).

If plaintiffs’ challenge is successful, no portion of any class member’s pay will even

qualify as a “commission” within the meaning of § 7(i), and the defense will be

decided without engaging in the individualized inquiries that motivated the 24 Hour

Fitness and Johnson decisions. Even if plaintiffs’ challenge is unsuccessful,

individualized inquiries might still be unnecessary, as plaintiffs do not appear to

dispute the calculations of their hours, rate of pay, commissions, or other relevant

metrics. See Def.’s Answer ¶¶ 16 and 19 (averring that, at any given time, at least 50




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% of plaintiffs’ pay constituted commissions, and plaintiffs made at least one and

one-half times the minimum wage for all hours worked in a workweek).

       The court recognizes that the plaintiffs in 24 Hour Fitness offered a similar

argument that class certification was appropriate because the payments they received

“were not in fact bona fide commissions under § 7(i), and [] the § 7(i) defense could

be defeated via common proof of this fact.” 24 Hour Fitness, 772 F. Supp. 2d at

1127. The Northern District of California characterized this as a merits argument and

rejected it as premature. Id. (“[W]hether plaintiffs actually meet the criteria of an

FLSA exemption is irrelevant to a determination of whether they are similarly

situated.”). Regardless of whether or not this rationale was appropriate in 24 Hour

Fitness, it would mischaracterize the argument in this case. Though the merits of

plaintiffs’ challenge are irrelevant in determining whether the proposed class

members are similarly situated, the ways in which that challenge might be proven or

defeated, and how the success or failure of that challenge will affect the ultimate

disposition of the case, are highly relevant to the similarly situated analysis. LaFleur,

30 F. Supp. 3d at 468 (“[C]ourts have determined if potential class members are

similarly situated by assessing the existence of ‘issues common to the proposed class

that are central to the disposition of the FLSA claims and that such common issues

can be substantially adjudicated without consideration of facts unique or

particularized as to each class member.’”).

        Moreover, adopting an interpretation of the “similarly situated” standard that

could be defeated any time defendants offered a § 7(i) defense would effectively deny

the benefits of the FLSA collective action provisions to all employees being paid



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pursuant to a purported “commission” plan. This result appears inconsistent with the

remedial goals of the FLSA. Hoffmann-La Roche Inc., 493 U.S. 165 at 173 (stating

that “Congress left intact the ‘similarly situated’ language providing for collective

actions” and “[t]he broad remedial goal of the statute should be enforced to the full

extent of its terms”).

         Thus, TBC’s § 7(i) defense does not preclude plaintiffs from making a modest

factual showing that the proposed class members are similarly situated. It is

certainly possible that further discovery may clarify the contours of plaintiffs’ claims

in such a way that it becomes clear the parties are not similarly situated. For instance,

it may be that the central issue is not whether or not the compensation plan itself

qualified as a bona fide commission plan under § 7(i), but rather, whether the acts of

specific managers7 or the actual application of the §7 (i) commission exception to

particular individuals violated the FLSA. At that time, defendant will have an

opportunity to bring a motion for decertification, but as this juncture, there appears to

be sufficient support for plaintiffs’ contention that liability can be determined without

individualized, fact-specific inquiries.

         Ultimately, the court is satisfied that plaintiffs’ have made a “modest factual

showing” that the proposed class members were “victims of a common policy or plan

that violated the law,” as required by Purdham, 629 F. Supp. 2d at 547–48. The

essence of plaintiffs’ claim is that, pursuant to a common compensation plan,

defendant denied plaintiffs and proposed class members overtime pay in violation of

the FLSA. See Pls.’ Reply 2–4. Plaintiffs’ assertion that all mechanics were paid

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         Plaintiffs’ allegation that managers regularly reduced their turned hours in order to facilitate
sales appears to be the most likely way in which the acts of specific managers may be relevant. See
Cole Aff. ¶ 9; Gordon Aff. ¶7; McNeil Aff. ¶ 11.

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pursuant to the same compensation plan is supported by their own affidavits, Cole

Aff. ¶ 9, Gordon Aff. ¶ 10, McNeil Aff. ¶ 13, Dewey Aff. ¶ 10, as well as defendant’s

admissions, which essentially state that plaintiffs and similarly situated employees

were compensated pursuant to a bona fide flat-rate commission plan. Def.’s Ans. ¶¶

15, 16, 19, 22, 23, and 31; see also Def.’s Resp. 5 (“[TBC] hires mechanics to

perform [] auto services, and pays them a commission.”). Plaintiffs’ complaint and

affidavits also support their claim that they, along with other class members, regularly

worked over forty hours a week without receiving overtime pay, Pls.’ Compl. ¶ 21;

Gordon Aff. ¶ 10, McNeil Aff. ¶ 13, Dewey Aff. ¶ 10, which TBC does not appear to

dispute. Def.’s Answer ¶ 15 (admitting that “[p]laintiffs and other similarly situated

employees worked more than forty (40) hours in a workweek” and that the overtime

calculations were not applicable). Thus, plaintiffs’ pleadings and affidavits

demonstrate that “the proposed class members raise a similar legal issue as to

coverage, exemption, [] nonpayment[,] minimum wages[,] or overtime arising from

at least a manageably similar factual setting.” De Luna-Guerrero, 338 F. Supp. 2d at

654.

       D. TBC’s Likelihood of Success on the Merits

       TBC also urges the court to deny conditional certification based on the

Eastern District of Virginia’s decision in Herrera v. TBC Corp., 18 F. Supp. 2d 739

(E.D. Va. 2014), granting summary judgment to TBC Corp. and finding that the same

flat rate compensation plan at issue in this case was compliant with § 7(i) of the

FLSA. Def.’s Resp. 3, 11. TBC notes that a recent investigation of its South Florida

stores, conducted by the U.S. Department of Labor, Wage and Hour Division, also



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found no violations. Id. at 3. TBC argues that Herrera and the Department of Labor

investigation show that plaintiffs’ claims are unlikely to succeed at trial; therefore

class certification is improper, and likely to result in judicial inefficiency and

unnecessary costs. Id. at 8 (“Plaintiffs must show a common policy or plan that

violates the law . . . These [p]laintiffs clearly cannot do so, as the common

commission-based pay plan [p]laintiffs must seek to attack is one already adjudged to

comply with the FLSA.”) (emphasis in original).

       TBC’s argument is premature at this stage. Though some courts have held

that class certification should be denied when a defendant employer shows that it is

likely to succeed at trial, Amendola v. Bristol-Myers Squibb Co., 558 F. Supp. 2d

459, 467 (S.D.N.Y. 2008), this position has been widely rejected—even in the

Southern District of New York, where it was first announced. See, e.g. McLawhorn

v. Cnty. of Wayne, N.C., 2014 WL 5810375, at *2 & n.1 (E.D.N.C. Nov. 7, 2014)

(stating that the defendant’s merits “argument is appropriate for a dispositive motion,

but cannot form the basis of this Court's decision on this matter” and specifically

rejecting the reasoning in Amendola); Lloyd v. J.P. Morgan Chase & Co., 2013 WL

4828588, at *4 & n.6 (S.D.N.Y. Sept. 9, 2013) (stating that “the law is clear that

courts should not weigh the merits at this point in the litigation” and explaining in

that Amendola’s reasoning was at odds with the Second Circuit’s recent clarification

of the conditional certification standard); Burdine v. Covidien, Inc., 2011 WL

2976929, at *2 (E.D. Tenn. June 22, 2011) (“While courts have occasionally

considered the merits of an FLSA claim when ruling on a motion for conditional

certification . . . the better approach in this case asks only whether the named



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[p]laintiffs are similarly situated to the potential plaintiffs.”); Davis v. Charoen

Pokphand (USA), Inc., 303 F. Supp. 2d 1272, 1277 n.6 (M.D. Ala. 2004) (“[The]

class-notification stage is not the time to resolve the merits of an FLSA suit.”). In

rejecting a merits-based analysis, the Burdine court specifically addressed the often

cited language requiring “a modest factual showing that the [proposed class

members] were victims of a common policy that violated the law.” Burdine, 2011

WL 2976929, at *3. The court held that—contrary to TBC’s argument—the phrase

“violated the law” should not be read to require a showing that plaintiffs are likely to

prevail on the merits. Id.

       Aside from the impropriety of TBC’s merits argument, neither Herrera nor the

Department of Labor investigation is necessarily indicative of TBC’s likelihood to

succeed at trial. While Herrera focused on the requirement that there be “some

element of proportionality” between employees’ commissions and the prices charged

to customers, Herrera, 18 F. Supp. 3d at 747, the proportionality requirement is not

the only reason a purported commission plan may not qualify as bona fide under

FLSA § 7(i). See Erichs v. Venator Grp., Inc., 128 F. Supp. 2d 1255, 1260 (N.D. Cal.

2001) (“The [c]ourt finds that the two examples [of non-bona fide commission plans]

in 29 CFR § 779.416(c) are not exhaustive. As a general matter, the term ‘bona fide

commission rate’ [asks] courts to consider whether the particular payment plan before

it comports with Congress’ purpose in exempting employers from paying overtime in

certain situations . . .”). TBC has provided little information about the contents of the

Department of Labor investigation, which, in any event, is not binding on this court.

Thus, even if the court were to stray from the majority position and incorporate a



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preliminary evaluation of the merits into its analysis, it appears that neither Herrera

nor the Department of Labor investigation would disturb the court’s finding that

plaintiffs have overcome the “fairly lenient” burden at this stage.8

         E. Other Potential Members’ Desire to Join Class

         TBC also argues that plaintiffs have failed to show evidence that other

potential class members desire to opt-in.9 Courts are divided on whether plaintiffs are

required to make such a showing. Compare Dybach v. State of Fla. Dep’t of Corr.,

942 F.2d 1562, 1567 (11th Cir. 1991) (“[T]he district court should satisfy itself that

there are other employees . . . who desire to ‘opt-in’ . . . ”); Pelczynski, 284 F.R.D. at

368 (requiring plaintiffs to provide evidence that “other similarly situated individuals

desire to opt in . . .”) (quoting Purdham, 629 F. Supp. 2d at 549); Parker, 492 F.

Supp. 2d at 1164–65 (“[B]efore a conditional-certification motion may be granted, a

named plaintiff (or plaintiffs) must proffer some evidence that other similarly situated
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          Alternatively, TBC argues that, given the Herrera decision and Department of Labor
investigation, it would be better to propose a new scheduling order, “fast tracking” the filing of a
dispositive motion on the applicability of the § 7(i) exception. Def.’s Resp. 4–5. The Eastern District
of North Carolina took a similar approach in McLawhorn v. Cnty. of Wayne, N.C., 2014 WL 5810375,
at * 2 (E.D.N.C. Nov. 7, 2014), denying the motion for conditional certification, but allowing for
refiling after the court ruled on the defendant’s pending motion for summary judgment. Here,
however, TBC has yet to file any dispositive motion and it is not clear how quickly this could be
accomplished. Courts have recognized that “the objectives to be served through a collective action
justify the conditional certification of a class of putative plaintiffs early in a proceeding, typically
before any significant discovery.” Curtis, 2013 WL 1874848, at *3. For these reasons, the court
declines TBC’s request to postpone the conditional certification issue until the resolution of a
dispositive motion.
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          TBC supplements this argument with an assertion that there are very few potential class
members who could join the litigation, due to the fact that “[TBC’s] employees started to sign
mandatory arbitration agreements in October 2013.” Def.’s Resp. 15. The court does not find this
consideration compelling, as it prematurely assumes that such arbitration agreements are enforceable.
Instead, the court finds that the better approach is to address arbitration issues after conditional
certification, when the scope and substance of those issues become clearer. See Amrhein v. Regency
Mgmt. Servs., LLC, 2014 WL 1155356, at *10 (D. Md. Mar. 20, 2014) (“[T]his [c]ourt cannot
determine at this stage of the proceeding what potential opt-in plaintiffs, if any, would be subject to
valid and binding arbitration. Thus, the potential for arbitration will not forestall the [p]laintiffs'
entitlement to conditional certification.”); Davis v. NovaStar Mortgage, Inc., 408 F. Supp. 2d 811, 818
(W.D. Mo. 2005) (conditionally certifying a class over defendant’s contention that “most, if not all,
[potential class members] have signed arbitration agreements,” and postponing determination of the
arbitration issues until after class members had been identified).

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individuals desire to opt in to the litigation.”); Davis, 303 F. Supp. 2d at 1275 (same

as Pelczynski) with Purdham, 629 F. Supp. 2d at 549 (recognizing criticisms of

Parker and stating that “[i]t does not appear that any courts within the Fourth Circuit

have adopted this relatively stringent test”); Villarreal v. St. Luke’s Episcopal Hosp.,

751 F. Supp. 2d 902, 916 (S.D. Tex. 2010) (“[T]he court finds that it need not

determine whether [p]laintiff has alleged sufficient information that aggrieved

individuals are actually willing to opt in to this lawsuit.”); Robinson v. Empire

Equity Grp., Inc., 2009 WL 4018560, at *2 (D. Md. Nov. 18, 2009) (same as

Purdham); Mancia v. Mayflower Textile Servs. Co., 2008 WL 4735344, at *3 n.5 (D.

Md. Oct. 14, 2008) (stating that Dybach “does not create an evidentiary standard

binding on this court,” and criticizing Parker for construing the FLSA too narrowly).

         The court in Parker held that it was necessary for plaintiffs to show other

potential class members’ desire to opt in, because, otherwise, there would be no

guarantee others would actually join the lawsuit, and if they did not, no purpose

would have been served by certifying the class.10 Parker, 492 F. Supp. 2d at 1165.

Other courts have criticized this position as illogical, since determining whether other

plaintiffs wish to join the lawsuit is part of the purpose of certifying the class in the

first place. See Helmert v. Butterball, LLC, 2009 WL 5066759, at *5 (“[T]he logic

behind defendants’ proposed procedure—requiring the plaintiff to show that others

want to join in order to send them notice asking if they want to join—escapes the

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          Notably, the Parker court stated: “It goes without saying that this analysis applies only when
there are one or two named plaintiffs. If, for example, eight employees together were to commence an
FLSA action, it might be unnecessary to show that others desire to opt in to the litigation, since the
sheer number of plaintiffs, standing alone, could render the case ‘appropriate’ for collective-action
status.” Parker, 492 F. Supp. 2d 1165 n. 4. The Parker court declined to draw a “precise numerical
line” as to when the analysis should apply, and recognized line drawing problems inherent in its
rationale. Id. For what it’s worth, the number of named plaintiffs in this case, six, is closer to eight
than two.

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[c]ourt.” (quoting Heckler v. DK Funding, LLC, 502 F. Supp. 2d 777, 780 (N.D. Ill.

2007))). Courts have also determined that this requirement would effectively force

plaintiffs to issue informal notices, or otherwise solicit potential class members on

their own, undermining the courts’ ability to oversee an orderly and accurate

notification process. Id.; see also Hoffman–La Roche, Inc., 493 U.S. at 170 (stating

that the benefits of a collective action under § 216(b) “depend on employees

receiving accurate and timely notice concerning the pendency of the collective

action” and holding that courts have “the requisite procedural authority to manage the

process of joining multiple parties in a manner that is orderly, sensible, and not

otherwise contrary to statutory commands or the provisions of the Federal Rules of

Civil Procedure”).

         The majority of courts in this circuit have declined to require evidence of

other potential plaintiffs’ desire to opt-in.11 See, e.g., LaFleur, 2012 WL 4739534, at

*11 (“Other courts in the Fourth Circuit have addressed this issue and have rejected

reading a requirement into the conditional certification standard that dictates

consideration of sufficient interest (or lack thereof) of potential opt-in plaintiffs prior

to notice to said potential plaintiffs being made.”); Butler v. DirectSAT USA, LLC,

876 F. Supp. 2d 560, 572 (D. Md. 2012) (refusing to impose a requirement that

plaintiffs identify other potential opt-in plaintiffs when moving for conditional

certification); Robinson, 2009 WL 4018560, at *2 n.13 (“[D]istrict courts in the

Fourth Circuit have declined to adopt “this relatively stringent [requirement].”);

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           Notably, this court was only able to find one decision in this circuit requiring evidence of
other potential plaintiffs desire to opt in, Pelczynski, 284 F.R.D. at 368. Curiously, the Pelczynski
court cited Purdham for support, though Purdham declined to impose such a requirement and stated
that “[i]t does not appear that any courts within the Fourth Circuit have adopted this relatively stringent
test.” Purdham, 629 F. Supp. 2d at 549.

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Purdham, 629 F. Supp. 2d at 549) (same as Robinson); Mancia, 2008 WL 4735344,

at *3 n.5 (stating that Dybach “does not create an evidentiary standard binding on this

court,” and criticizing Parker for construing the FLSA too narrowly); Quinteros v.

Sparkle Cleaning, 532 F. Supp. 2d 762, 772, 772 n.5 (D. Md. 2008) (stating that it is

unwilling to “narrowly construe the pleading requirements” to require the requisite

showing that there were in fact opt-in plaintiffs). Thus, the weight of precedent in

this circuit is decisively against requiring such a showing in order to conditionally

certify a class. In light of such precedent, as well as the substantive criticism noted

above, the court will not require plaintiffs to demonstrate potential class members’

interest in joining the class.

        F. Court-Facilitated Notice

        In connection with their motion for conditional certification, plaintiffs also ask

the court to: (i) compel TBC to produce a list containing the names, addresses, and

telephone numbers of all potential opt in plaintiffs in the manner in which it regularly

maintained those records, and (ii) to authorize plaintiffs to send their proposed notice,

by mail, to all proposed class members. Pls.’ Br. 9. TBC initially objected to several

aspects of the proposed notice, Def. Resp. 20–21, but later withdrew all but two

objections at a hearing held September 2, 2015. At the same hearing, the court ruled

on TBC’s remaining objections and approved plaintiffs’ proposed notice, subject to a

reduction of the time allowed for plaintiffs’ to file class member’s consent to become

a party from a date ninety (90) days from the date of notice, to a date sixty (60) days

from the date of notice.




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                                 III. CONCLUSION

       For the foregoing reasons, the court GRANTS plaintiffs’ motion for

conditional certification. The court ORDERS TBC to provide the names, addresses,

and telephone numbers of all potential opt-in plaintiffs within five (5) days of the

entry of this order, and plaintiff is authorized to mail the approved notice, subject to

the change described above, to all potential opt-in plaintiffs.

       AND IT IS SO ORDERED.




                                       DAVID C. NORTON
                                       UNITED STATES DISTRICT JUDGE

September 30, 2015
Charleston, South Carolina




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